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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                               NORTHERN DIVISION

MARTY S. HAMILTON                                                             PLAINTIFF

 V.                                              CIVIL ACTION NO. 3:16CV865-LRA

 NANCY A. BERRYHILL, ACTING
 COMMISSIONER OF SOCIAL SECURITY                                           DEFENDANT

                      MEMORANDUM OPINION AND ORDER

       Marty S. Hamilton appeals the final decision denying his applications for

disability insurance benefits (DIB) and supplemental security income (SSI). The

Commissioner requests an order pursuant to 42 U.S.C. § 405(g), affirming the final

decision of the Administrative Law Judge. Having carefully considered the hearing

transcript, the medical records in evidence, and all the applicable law, the Court finds that

the decision should be remanded.

       On January 22, 2013, Hamilton filed applications for DIB and SSI alleging a

disability onset date of October 12, 2011, due to torn muscles, hip muscle pain, sciatica

nerve damage, and arthritis. He was 50 years old on his alleged onset date, and had a

high school education. He had previous work experience in a furniture store, as a school

bus driver, and as a landscape worker. Following agency denials of his applications, an

Administrative Law Judge (“ALJ”) rendered an unfavorable decision finding that he had

not established a disability within the meaning of the Social Security Act. The Appeals
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Council denied Plaintiff’s request for review. He filed the instant appeal on November 3,

2016, but he has since passed away. 1

        At step one of the five-step sequential evaluation, 2 the ALJ found that Plaintiff had

not engaged in substantial gainful activity since his alleged onset date. At steps two and

three, the ALJ found that Plaintiff’s degenerative disc disease, acute infarct,

osteoarthritis, sciatica, status post amputation of right foot/toe, coronary artery disease

(CAD), peripheral vascular disease (PVD), and diabetes mellitus were severe, but did not

meet or medically equal any listing. At step four, the ALJ found that Plaintiff had the

residual functional capacity to perform light work except he can:

        lift/carry 20 pounds occasionally and 10 pounds, frequently, stand/walk for
        two hours for 20 minutes at a time, and sit for six hours for two hours at a
        time during an eight-hour workday. He can occasionally stoop and climb
        but no crouching, kneeling, or crawling. The claimant can push/pull less
        than 10 pounds with the lower extremities. Due to occasional lower
        extremity numbness, he cannot feel texture and cannot operate foot
        controls. The claimant would use a cane to walk for more than 10 minutes. 3

Based on vocational expert testimony, the ALJ concluded that given Plaintiff’s age,

education, work experience, and residual functional capacity, he could perform work as a

charge account clerk, merchandise marker, and cashier.




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            ECF No. 18, p. 150. Counsel for Plaintiff has advised that Hamilton died on January 15, 2018.

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          Under C.F.R. ' 404.1520, the steps of the sequential evaluation are: (1) Is plaintiff engaged in
substantial gainful activity? (2) Does plaintiff have a severe impairment? (3) Does plaintiff=s
impairment(s) (or combination thereof) meet or equal an impairment listed in 20 C.F.R. Part 404, Sub-
part P, Appendix 1? (4) Can plaintiff return to prior relevant work? (5) Is there any work in the national
economy that plaintiff can perform? See also McQueen v. Apfel, 168 F.3d 152,154 (5th Cir. 1999).
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            ECF No. 18, p. 128.

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                                    Standard of Review

       Judicial review in social security appeals is limited to two basic inquiries: A(1)

whether there is substantial evidence in the record to support the [ALJ’s] decision; and

(2) whether the decision comports with relevant legal standards.@ Brock v. Chater, 84

F.3d 726, 728 (5th Cir. 1996) (citing Carrier v. Sullivan, 944 F.2d 243, 245 (5th Cir.

1991)). Evidence is substantial if it is Arelevant and sufficient for a reasonable mind to

accept as adequate to support a conclusion; it must be more than a scintilla, but it need

not be a preponderance.@ Leggett v. Chater, 67 F.3d 558, 564 (5th Cir. 1995) (quoting

Anthony v. Sullivan, 954 F.2d 285, 295 (5th Cir. 1992)). This Court may not re-weigh the

evidence, try the case de novo, or substitute its judgment for that of the ALJ, even if it

finds evidence that preponderates against the ALJ’s decision. Bowling v. Shalala, 36

F.3d 431, 434 (5th Cir. 1994).

                                            Discussion

       Plaintiff contends that this case should be reversed or alternatively remanded for

several reasons. He argues that the ALJ failed to find chronic skin infections were a

separate severe impairment at step two; failed to support his step three finding with

substantial evidence; erred in finding that Plaintiff can perform other jobs in the

economy; failed to fully develop the record; and, failed to change his age category. He

also asserts the Appeals Council erred in failing to review new and material evidence.

For the reasons that follow, this case is remanded for further administrative review.

       Plaintiff’s medical records reflect a history of chronic skin infections caused by

complications of coronary artery disease, peripheral vascular disease, and uncontrolled
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diabetes mellitus. At the administrative hearing, Plaintiff testified that, inter alia, he

cannot feel his feet because of diabetic neuropathy, and has difficulty with his right leg

because of pulled muscles and a torn sciatic nerve. He also strains to pick up his 30-

pound grandson; cannot perform household chores for any length of time; can only stand

between 10-15 minutes at a time; walks approximately 100 feet before his hip begins to

hurt; and, uses a cane for balance when he walks. In determining that Plaintiff can

perform a reduced range of light work, the ALJ found that Plaintiff=s medically

determinable impairments could reasonably be expected to produce some of his alleged

symptoms, but his testimony regarding the intensity, persistence, and limiting effects was
                       4
not fully credible.

       As his first point of error, Plaintiff argues that the ALJ failed to find that his

chronic skin infections were a severe impairment at step two. The Commissioner

counters that this argument is moot because the ALJ ultimately found Plaintiff’s diabetes

mellitus, “which encapsulates all of his objectively verifiable skin issues” was a severe

impairment. Generally, the failure to make a severity finding at step two is not grounds

for reversal or remand when the ALJ finds other severe impairments and proceeds with

the sequential evaluation. Adams v. Bowen, 833 F.2d 509, 512 (5th Cir. 1987) (failure to

make a severity finding at step two not a basis for remand where ALJ proceeded to later

steps of the analysis). However, throughout the disability determination process, the ALJ

is required to consider the combined effects of any impairments “without regard to



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           ECF No. 18, 137-48.

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whether any such impairment, if considered separately, would be of sufficient severity.”

Loza v. Apfel, 219 F.3d 378, 393 (5th Cir. 2000) (quoting 20 C.F.R. § 404.1523).

       A review of the ALJ’s decision in this case reflects that the ALJ summarily

concluded at step three that the claimant did not meet or equal a listing. The Court

chiefly considers Plaintiff’s argument that the ALJ failed to evaluate his chronic skin

infections to determine whether it met Listing 8.04 for Skin Disorders. The ALJ’s step-

three analysis was as follows:

       None of the claimant’s physical impairments has the required attendant
       findings as any impairment contained in Appendix 1. The claimant’s heart
       condition does not have the same attendant findings for any impairment
       contained in section 4.00 et. seq. of Appendix 1. Specific consideration has
       been given to Listings 1.04 and 4.12. Diabetes mellitus is no longer a valid
       impairment for adults but the effects of diabetes have been taken into
       consideration (SSR-14-2p). 5

While an ALJ is not required to conduct a point-by-point discussion, such statements

thwart meaningful judicial review. Audler v. Astrue, 501 F.3d 446, 448 (5th Cir. 2007).

       Although diabetes mellitus is no longer a listing impairment for adults, the

regulations direct an ALJ to evaluate impairments resulting from endocrine disorders,

such as diabetes mellitus, “under the listing for the other body system affected, if any.”

See 20 C.F.R. Pt. 404, Subpt. P, App. 1, § 9.00. Christiansen v. Colvin, 5:14-CV-1314,

AKK, 2015 WL 875427, at *3 (N.D. Ala., Mar. 2, 2015) (“To replace the original listing

9.08, the revised listing 9.00 required claimants suffering from an endocrine disorder,

including diabetes, to show that their illness caused a listed condition for another body


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           ECF No. 18, p. 128


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system in order to satisfy Step Three of the SSA's five-part sequential analysis.”). Listing

9.00B (5)(a) (ii) specifically provides that diabetic complications resulting from chronic

hyperglycemia, for which there is undisputed evidence of in this case, should be

evaluated accordingly:

       [W]e evaluate diabetic peripheral neurovascular disease that leads to
       gangrene and subsequent amputation of an extremity under 1.00; diabetic
       retinopathy under 2.00; coronary artery disease and peripheral vascular
       disease under 4.00; diabetic gastroparesis that results in abnormal
       gastrointestinal motility under 5.00; diabetic nephropathy under 6.00;
       poorly healing bacterial and fungal skin infections under 8.00; diabetic
       peripheral and sensory neuropathies under 11.00; and cognitive
       impairments, depression, and anxiety under 12.00.

20 C.F.R. Part 404, Subpart P, App. 1, § 9.00B(5)(a)(ii).

       In the instant case, Plaintiff contends the ALJ erred at step three by failing to

evaluate his chronic skin infections under Listing 8.00 for Skin Disorders, specifically

section 8.04. To meet Listing 8.04, a claimant must have “[c]hronic infections of the skin

or mucous membranes, with extensive fungating or extensive ulcerating skin lesions that

persist for at least 3 months despite continuing treatment as prescribed.” 20 C.F.R. Pt.

404, Subpt. P, App. 1, § 8.04. The agency assesses the severity of skin disorders by

examining the extent of skin lesions, the frequency of flare-ups, extent of treatment, and

how it affects the claimant’s ability to function. The regulations define “extensive skin

lesions” as follows:

       Extensive skin lesions. Extensive skin lesions are those that involve multiple
       body sites or critical body areas, and result in a very serious limitation.
       Examples of extensive skin lesions that result in a very serious limitation
       include but are not limited to:



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                a.      Skin lesions that interfere with the motion of your joints
                        and that very seriously limit your use of more than one
                        extremity; that is, two upper extremities, two lower
                        extremities, or one upper and one lower extremity.

                b.      Skin lesions on the palms of both hands that very
                        seriously limit your ability to do fine and gross motor
                        movements.

                c.      Skin lesions on the soles of both feet, the perineum, or
                        both inguinal areas that very seriously limit your ability
                        to ambulate.

Id. § 8.00(C)(1)(a)-(c) (emphasis added).

        Plaintiff argues that this listing is satisfied because the medical evidence

documents treatment for chronic skin infections throughout 2011, 2012, 2014, and 2015.

He specifically highlights an ulcerating skin lesion on his right, fifth toe that was first

treated in November 2011, and persisted through December, February, March, April,

August, and September 2012, despite antibiotic infusions and hyperbaric oxygen therapy,

before ultimately resulting in the amputation of his toe.

        At step two, the ALJ discussed the medical evidence showing that Plaintiff had a

non-healing ulcerating skin lesion that persisted from November 2011 through September

2012, well over the 3-month period required by Listing 8.04. The ALJ also

acknowledged that “the wound failed to completely heal despite multiple rounds of

antibiotics and debridement.” Yet, the ALJ made no mention of Listing 8.04, or whether

its criteria were satisfied. 6 Specific consideration was expressly given only to Listings



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           But see Hurst v. Colvin, 639 F. App’x. 1018, 1021–22 (5th Cir. 2016) (“Although the ALJ failed
to cite section 8.05 in her decision, she did cite considerable evidence that bolstered her conclusion that
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1.04 (Disorders of the Spine) and 4.12 (Peripheral Arterial Disease). And, while these

listings were identified and relevant medical evidence described, the ALJ did not explain

how he reached the conclusion that these listings were not met, in particular Listing 4.12,

which Plaintiff also challenges. The mention of diagnosis and symptoms associated with

an impairment does not equate to an evaluation of the intensity, persistence, and limited

effects.

       In Audler v. Astrue, the ALJ summarily determined that the claimant's

impairments did not meet or equal any of the impairments in the Listings, but she did not

identify which Listing the claimant failed to meet or explain how she reached that

conclusion. 501 F.3d at 448. The Audler Court noted that because the ALJ offered

nothing to support her conclusion at this step, it could not determine whether the decision

was based on substantial evidence.

       Such is the case here. Despite medical evidence documenting skin infections, the

record is devoid of any analysis by the ALJ or a medical expert as to whether Listing 8.04

criteria were met. A state agency consultant reviewing the medical evidence in

December 2013, indicated that there were “no listings applicable” to Plaintiff.7 This

opinion, which was generated before Plaintiff’s subsequent infections and second

amputation, was not adopted entirely but it was assigned some weight. Similarly, the

ALJ’s adverse credibility determination and residual functional capacity assessment are


Hurst ‘does not have an impairment or combination of impairments that meets or medically equals the
severity’ of an impairment listed in Appendix 1.”).
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           ECF No. 18, p. 173.


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largely based on the findings of a consultative examination conducted in April 2013,

showing Plaintiff had no difficulty ambulating. Based on this evidence and observations

at the administrative hearing, the ALJ found Plaintiff’s complaints credible only “to the

extent that he requires a cane if walking for longer than 10 minutes.” However, the

ability to ambulate is one example of qualifying severity under 8.00 and 8.04.

       Generally, “[t]he degree of severity which might potentially meet or equal the

criteria of Listing 8.04 is not intuitively obvious to a judicial reviewer such as this court,

and the Commissioner has the expertise to explain the degree of severity which is

required by that Listing.” Kesinger v. Colvin, No. Civ. Action 14-1030-JWL, 2015 WL

471274, at *6 (D. Kan., Feb. 4, 2015). Here, however, the Commissioner does not

address whether Listing 8.04 is satisfied, except to say that the ALJ was under no

obligation to consider it because Plaintiff’s amputations were due to osteomyelitis, not a

skin infection. But by the Commissioner’s own admission, osteomyelitis is an infection

of the bone that can be caused by complications from diabetic skin disorders, and the

“medical evidence clearly indicates that Plaintiff’s diabetes mellitus caused his skin’s

issues.” 8 The ALJ acknowledged, in fact, that Plaintiff “subsequently developed

osteomyelitis of the right fifth MP joint requiring amputation of the toe in August 2012”

after multiple rounds of antibiotics and debridement failed to resolve his 2011 skin lesion.

Medical records from April 2014 also reflect a “chronic wound concern for

[osteomyelitis] on [his] right great toe, and “[e]arly osteomyelitis of [the] distal phalanx


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           ECF No. 29, p. 8.


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of [the] right great toe due to diabetic foot ulcer.” The Commissioner does not cite any

medical evidence to the contrary. 9

       An ALJ=s failure to adequately explain his step-three finding does not require

remand unless it affects the claimant=s substantial rights. Audler, 501 F.3d at 449; see

also Goffney ex rel. B.L. v. Astrue, 4:09-CV-161, DPJ-FKB, 2011 WL 1297184, at *7

(S.D. Miss., Mar. 31, 2011). “A claimant's substantial rights are affected at Step Three

when he demonstrates that he meets, or at least appears to meet, the requirements for a

listing.” Strong v. Astrue, No. 10-1406, 2011 WL 7394717, at *3 (W.D. La., Dec. 23,

2011) (emphasis added). Here, Plaintiff appears to have met his burden of showing

chronic infections lasting 3 or more months despite treatment. Absent any analysis by

the ALJ or a medical expert, the Court is simply unable to conduct an informed judicial

review as to whether the severity criteria were met.

       Against this backdrop, the Court turns to Plaintiff’s contention that the Appeals

Council erred in failing to consider new evidence after the ALJ’s decision. As

background, Hamilton was represented by a non-attorney representative in proceedings

before the ALJ. He did not submit a medical source statement or opinion from a treating

physician during that time frame. Upon receiving the ALJ’s written opinion denying

benefits, Plaintiff retained counsel, who then procured a medical source statement from

Dr. Christina Bowles, and submitted it to the Appeals Council, along with other medical

records. The medical source statement, dated December 4, 2015, indicates that Plaintiff




       9 ECF No. 18, pp. 130, 641, 645.

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became an established patient in May 2015. It also states, inter alia, that Plaintiff has

pain in his right leg and hip with ambulation, and minimal sensation in both feet. The

pain is “particularly worse in [the] right foot and hip, [and] daily aggravated with

ambulation, and sitting for long periods.” She also indicates that Plaintiff requires an

assistive device while walking.

         The regulations provide that “[w]hen confronted with new and material evidence,

the Appeals Council ‘shall evaluate the entire record including the new and material

evidence. . . . It will then review the case if it finds that the administrative law judge's

action, findings, or conclusion is contrary to the weight of the evidence currently of

record.’” Whitehead v. Colvin, 820 F.3d 776, 780 (5th Cir. 2016) (quoting 20 C.F.R. §

404.970(b)). The Appeals Council considers additional evidence only if it is new,

material, and relates to the period on or before the ALJ=s decision. 20 C.F.R. ' '

404.970(b), 404.976 (B). 10 Once considered, the new evidence becomes part of the

administrative record upon which the final decision is based, and a reviewing court must

determine whether the denial of benefits is supported by substantial evidence, in light of

the new evidence. Hardman v. Colvin, 820 F.3d 142, 150 (5th Cir. 2016). The Fifth

Circuit has held that “even when new and material evidence submitted to an Appeals

Council is ‘significant’ and ‘casts doubt on the soundness of the ALJ's findings,’ the



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             AEvidence that was >not in existence at the time of the administrative . . . proceedings meets the >new=
requirement for remand. . . . ,’” Hunter v. Astrue, 283 F. App’x. 261, 262 (5th Cir. 2008), while material evidence
must Arelate to the time period for which benefits were denied,@ and it may not Aconcern evidence of a later-acquired
disability, or of the subsequent deterioration of a previously non-disabling condition.@ Haywood v. Sullivan, 888
F.2d 1463, 1471-72 (5th Cir. 1989) (quoting Johnson v. Heckler, 767 F.2d 180, 183 (5th Cir. 1985)). There must also
be a reasonable probability that the new evidence would change the outcome of the case.

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Appeals Council does not err in refusing to review the claimant's case if it can be

determined that substantial evidence nevertheless supports the ALJ's denial of benefits.

Id. at 151 (emphasis added) (quoting Sun v. Colvin, 793, F.3d 502, 511-12 (5th Cir. 2015).

The Court cannot make such a determination here.

       Unlike the other records submitted by Plaintiff, the Appeals Council did not

contest the newness or materiality of Dr. Bowles’s medical source statement in denying

Plaintiff’s request for review. The evidence is not cumulative of what is already in the

record, and although dated December 4, 2015, the treating relationship encompasses the

period before the ALJ’s decision. Johnson v. Berryhill, No. 4:16-CV-0214-O-BL, 2017

WL 2964882, at *6 (N.D. Tex., July, 26, 2017) (“The fact that evidence relates to a

period after the ALJ decision does not preclude it from also relating to the earlier

period.”). Dr. Bowles’s medical source statement is also the only opinion from a treating

physician of record, and the limitations assigned therein cast doubt on both the ALJ’s

adverse credibility determination and residual functional capacity assessment. Compare

Whitehead, 820 F.3d at 780 (“[T]he newly submitted medical records largely confirm the

evidence already contained in the record.”). Standing alone, this doubt is not enough to

warrant reversal or remand. But when considered in light of the ALJ’s failure to consider

Listing 8.04, the Court is unable to determine, from a review of the record as a whole, if

substantial evidence supports the ALJ’s decision. Sun, 793 F.3d at 504. Dr. Bowles’s

report so dilutes the record “that a weighing of new and old evidence is required” to

assess the degree of limitations during the relevant time period. Jones v. Astrue, 228 F.

App’x 403, 407 (5th Cir. 2017).

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       To be clear, the undersigned has not reweighed the evidence and does not suggest

that Plaintiff is or is not disabled. In fact, further analysis on remand may very well

result in the same conclusion, given the ALJ’s adverse credibility determination and

residual functional capacity assessment. On this record, the Court cannot confidently

conclude that the ALJ’s errors at step three did not affect the analyses at the subsequent

steps of the evaluation. Accordingly, this case is remanded for further proceedings

consistent with this opinion. On remand, the ALJ should set forth with greater specificity

his findings with regard to the listings, taking care to link his findings to specific

evidence. Because this case is remanded for further development on these grounds, the

Court need not consider whether it should be remanded on other grounds raised herein.

       SO ORDERED on May 3, 2018.



                                                       s/ Linda R. Anderson
                                               UNITED STATES MAGISTRATE JUDGE




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